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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &
Email Address

Daniel E. Gonzalez
P.O. Box 847
Pleasanton, CA 94566

Plaintiff or Attorney for Plaintiff

FOR COURT USE ONLY

FILED
SEP 16 2024

CLERK U.S. BANKRUPTCY COURT
CENTRAL @ISJRICT OF CALIFORNIA
BY: Deputy Clerk

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UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA ~ SANTA BARBARA

In re:

Brian Morgan Heit

CASE NO.: 9:24-—bk-10608-RC

CHAPTER: 7

ADVERSARY NUMBER: 9:24-ap~01028-RC

Debtor(s).
Daniel E. Gonzalez
y Plaintif(s) SUMMONS AND NOTICE OF STATUS
cms CONFERENCE IN ADVERSARY
Adept Legal Counsel, PC PROCEEDING [LBR 7004-1]
(See Attachment A for names of additional defendants)
Defendant(s)

TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left-hand corner of this page. The deadline to file and serve a written response is
10/03/2024. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief

demanded in the Complaint.

A status conference in the adversary proceeding commenced by the Complaint has been set for:

Date:
Time:

November 6, 2024
09:00 AM
Hearing Judge: Ronald A Clifford II

Location:

1415 State St., Crtrm 201, Santa Barbara, CA 93101

This form is mandatory. ft has been approved for use in the United States Bankruptcy Court for the Central District of Califarnia.

December 2016 Page 1

F 7004-1.SUMMONS.ADV.PROC

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You must comply with LBR 7016-1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court-approved joint status report form is available on the court's website (LBR form F
7016-1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016-1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.

KATHLEEN J. CAMPBELL
CLERK OF COURT

- Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: September 3, 2024

By: "s/" Kam Rust

Deputy Clerk

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016 Page 2 F 7004-1 -SUMMONS.ADV.PROC
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ATTACHMENT A
Names of plaintiffs and defendants

Plaintiff(s): Defendant(s):

Daniel E. Gonzalez Adept Legal Counsel, PC
Brian Morgan Heit
Heit Law Group, Inc.

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

ATTACHMENT A
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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General

Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) , | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email

addresses stated below:

[~ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date} , | served the following persons and/or
entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct
copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows.
Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after

the document is filed.

[2 Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)

, | served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be

completed no later than 24 hours after the document is filed.

[2 Service information continued on attached page
| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

Date Printed Name Signature

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2016 F 7004—-1.SUMMONS.ADV.PROC
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Main Document Page 2 of 2

ADVERSARY PROCEEDING STATUS CONFERENCE PROCEDURES
JUDGE RONALD A. CLIFFORD IT

1. The Court will set an initial status conference in all adversary proceedings to be held
approximately sixty (60) days after the matter is filed. All parties must appear in person at the
initial status conference. Failure to appear for a status conference may result in the imposition of
monetary sanctions.

2. A joint status report prepared using Local Form F 7016-1.STATUS.REPORT must be
filed fourteen (14) days before each status conference. The plaintiff must attach a copy of the
Local Form F 7016-1.STATUS.REPORT to these Adversary Proceeding Status Conference
Procedures as Exhibit A. Failure to file a joint status report may result in the imposition of
monetary sanctions and/or the status conference being continued.

3. Ifa party does not cooperate in the preparation of a joint status report, the other party
should follow the procedure set forth in this Court’s Local Bankruptcy Rule 7016-1 (a)(3) for
filing a unilateral status report.

4. A status report is not required if:

A. Prior to the date scheduled for the status conference, the parties have filed, and the
Court has entered, an order approving a stipulation that resolves all issues raised by the adversary
proceeding and provides either for dismissal of the action in its entirety or the entry of judgment
in the action.

B. Defaults have been entered as against all defendants and the plaintiff has filed and
served a motion for default judgment prior to the date scheduled for the status conference.

C. The parties have filed, and prior to the date scheduled for the status conference,
the Court has entered an order approving, a stipulation continuing the status conference to a later
date (in which case a written status report must be filed not less than fourteen (14) days in
advance of the continued status conference date),

D. The Court has expressly relieved the parties of the obligation to file a written
status report

5. If a response to the complaint is not timely filed:

A. The plaintiff should file a request for entry of default by the clerk. The plaintiff
also may request entry of a default judgment by filing and serving (if necessary) an appropriate
motion; see Fed. R. Bankr. P. 7055 and Local Bankruptcy Rule 7055-1; AND

B. No later than ten (10) days prior to the status conference, each appearing party
must file a Unilateral Status Report (containing the information set forth in Sections A-E of
Local Rule Form F 7016-1.STATUS.REPORT) as required by Local Bankruptcy Rule 7016-

1(a)(3).
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Main Document Page 4 of 2

6. Unless otherwise ordered by the Court, within seven (7) days after the status conference,
the plaintiff must submit a scheduling order that complies with Local Bankruptcy Rule 7016-

1(a)(4).

7. Stipulations for extensions of time are ineffective unless approved by the Court. The
Court is likely to deny requests to extend a response deadline to a date within five (5) days of the
hearing date unless the hearing date is continued to a date which permits the Court adequate time
to consider the papers.

8. A copy of these instructions—including Exhibit A, Local Rule Form F 7016-
1.STATUS.REPORT—must be attached to every copy of the complaint served upon a party, and
the affidavit of service must state that these instructions were served along with a copy of the
summons and complaint.
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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
4135 Jensen Street, Pleasanton, CA 94566

A true and correct copy of the foregoing document entitled: SUMMONS AND NOTICE OF STATUS CONFERENCE IN ADVERSARY
PROCEEDING [LBR 7004-1] and (2) the accompanying pleading(s) entitled:

Filed Stamped copy of Complaint in Adversarial Proceeding Case No. 9:24-ap-01028-RC

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) , | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email

addresses stated below:

fF Service information continued on attached page

2. : On (date) September 13, 2024 , | served the following persons and/or

entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and-eorféct oo

copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed/4s follows: N \
24 hours after

Listing the judge here constitutes a declaration that mailing to the judge will be completed no later th

the document is filed. Clerk,Hon. Ronald A. Clifford ti!

Marcus G Tiggs Jerry Namba (TR) .
Sandra K. McBeth, Trustee Bayer Wishman & Leotta 1375 E. Grand Avenue Suite 103 US. Bankruptcy Court
A Professional Law Corporation 1055 Wilshire Blvd, Suite 1900 PMB 545 1415
7343 El Camino Real, #185 (mail) Ste 1900 Arroyo Grande, CA 93420 Sant. State ba Street 101-2511 }
Atascadero, CA 93422 Los Angeles, CA 90017 via REGULAR MAIL a REGULAR MAH /

via REGULAR MAIL via REGULAR MAIL

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method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
September 13, 2024 , | served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no fater than 24 hours after the document is filed. Brian Morgan Heit,
Chief Financial Officer

Brian Morgan Heit,

1162 Vista Canyon Lane, fanh tet PC, Inc.
Newbery Park, California 91320 fom 9 Town ate ¥G ad. Cuite 104,
via USPS EXPRESS MAIL Westlake Village, California 91361

via USPS EXPRESS MAIL
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i declare under penaity of perjury under the taws of the United States that the foregoing is true and correct

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Signplure NT J

Date Printed Name

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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